 (ggr4',re11 suoncn4sul)
                                                                                                                                                                               cgsn gs^Yl^l
 (oe/srzr',teD ssz-rusn            lttuoi                                        rtrnof, fHr.{o                xufTJ 'I                                                  sNoruqluorud
                    ELlIlu$6H0V                9'18rn 2 :01
                                                                    ,/lrt>v|g                      av'rt/s(w
                                                                                          {                                   wn * "{y 'fnTT,s.).,w*ru
       puqeuJo lrmourv              ro l?qsrew's'n ol pe^\o lrmourv                                                                                                                  eed ecr^Jes
          (1ndeq :o prlsrel
                            l'S'O Jo
 ru?                     erulJ                                                     8t0z                                                (aaoqo uaoqs uot6   ua.nfip                              ssorppv
                                                                                           I                                                                          11 ,{1uo a1a1duoc)
                  'epoqeJo sce;d pnsn
 s.lu€puaJep eql m Emplser ueql uoqeJc                 Tl
       -srp puu e3e alqelns go uosred           y                                                                                    (aa.oqo uuot1s Toutt) potrns                    ell11 pue    aur?N
                                                                                                                                                                    le[pr^rpnrJo
                                             (mo1aq    sl.owat aag) e^oqu perueu ..cle ,uor                       tunprlrpur eql etecol ol olq€rm ure I lurll urqer pue f+uac rtqueq                1X
           peqycsop ss$ord eql',,sueruea,, In Ir tot{s s3 pelnooxe a^aq                  'ecr^resJo ecuepr^e                      'pe^res flleuoued aaeq                                        fqereq
                                                                                     E                         1e8e1 e,req   fl                            E l l?rp uryer puz,frgoc                      1
                                                                                                                                                              (palquqns    s   ggz   llsn       auo uDtfi
          /)'l                                                                                                                                               atouttt   gg7 1,1192    tst{t1uo uBtg)
                                                                                                   fr1"^eNes ol                                                     'pelm1pq sseco:d       yo   :equmu
          ol3(l                             rye13 ro   flndeq Shlsn pezFoqlnygo e.rqedrg                 lrl.rlslc                                         Iqol eqt roJ t{lecsr e8pey*ou{ce I
 flNIT SIHI A\OTf,g f,IIUA\ ION O(I                                                      AfNO TYHSUYI{ 'S'N .{O                                        uod a\oTflg sJvds
                                    -
                                                                                INVONE{AC      I
                                                                                 rdrrNrYlr(                    :JoJpqeq uo ecrares Surjsanba-r ropur8p6 reqlo ro                       go   smledrg
ptod
                                                                                                                                                                                      PI"J
                                                                                                                         :(ana.og   ng   aTqDfD^y   saull patDurtsg puo ,uaqun71 auoqdSiaj
        ilYW)a3IAuaSoNIUoadxaNIJSIssV.I,IIlAJvHINoIJwNodNIuaHJouosNoIJ3nuJsNI.IVIJ:IdS
                                                               'Y'S'O uo
                                                      acr^res roJ   rreqJ
                                                                       '-!:                                                                                                    -I      I
                                                   asB, srql ur p3^J3s -
                                             eq o1 sergedgo r"q*nN'
                                                                    pr-r.   I
                                          sgz - rruod.rql q1r^
                                            eq o1 sseco:dgorequmtrl         l- - -
                                                                                     :.iI\OI:Ig SS:ru(IqY Of{v !il^IVN JV                           OIAdOJ AJIAUAS         CO       IIJIION CNIIS
                                                                                                                     h   oe           '-'iT +2J                                            IV
                                                                                          (apo) dJZ puo ato$ 't(tD    "o71   uaw1rodV'OdA       n pa4s)    SS11UCCV
                  uo azlEs oTAJUAdOUd                  CO    NOIrdruf,S:IC UO AAUSS Or ''JJA'NOIr\rUO{UOS'ANVdI IOC'TVnC
                                                                                                                                                                                           a
                                                                                                                                                           co aNvN                    f,AUflS
                                                                                                                                                                                    INY(NACAC
                          (:/                 -l>      I t
                               uagl^nN asvS JunoJ                                                                                                                                     JdIJNIV'Id
                                                       'ut"rolsltltlo asa^a.t aqt uo
                        's'n   aLfi ,tq   ssaco.t4to ac!^ras,, tolsuo4cn4suJ aag
                                                                                                                                     ecr^ras slurlsrslN selsls pelpn
        ,lDtlsrol   [    Case: 1:18-cv-04882 Document #: 6 Filed: 11/28/18 Page 1 of 1 PageID #:81                                       ecrlsnl Jo ]ueruuBdec's'n
                    NUnIflU CNY J,drsf,f,u Sssf,oud
